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14
                        UNITED STATES DISTRICT COURT

15                    CENTRAL DISTRICT OF CALIFORNIA

16    S10 ENTERTAINMENT & MEDIA           ) CIVIL CASE NO. 2:21-cv-2443
      LLC,                                ) COMPLAINT FOR
17                        Plaintiff,      )   (1) TRADEMARK
18         vs.                            )       INFRINGEMENT;
      SAMSUNG ELECTRONICS CO.,            )   (2) UNFAIR COMPETITION
19    LTD.; and SAMSUNG                   )       UNDER THE LANHAM
20    ELECTRONICS AMERICA, INC            )       ACT;
                        Defendants.       )   (3) CONTRIBUTORY
21                                        )       TRADEMARK
22                                        )       INFRINGEMENT;
                                          )   (4) STATUTORY AND
23
                                          )       COMMON LAW
24                                        )       TRADEMARK
                                          )       INFRINGEMENT; and
25
                                          )   (5) CAL. BUS. & PROF. CODE §
26                                        )       17200 VIOLATIONS
                                          )
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28                                  COMPLAINT
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 1           Plaintiff S10 Entertainment & Media LLC (“S10 Entertainment” or
 2   “Plaintiff”), by and through its counsel, for its Complaint against defendants
 3   Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively,
 4   “Samsung”), alleges as follows:
 5                                    INTRODUCTION
 6           1.   This is an action for federal trademark infringement, common law
 7   trademark infringement, contributory trademark infringement, unfair competition
 8   and violations under Cal. Bus. & Prof. Code § 17200.
 9           2.   S10 Entertainment was founded in 2017 as a full-service talent
10   management company for the purposes of managing, promoting, publishing and
11   producing the music of talented and emerging artists within the music industry.
12           3.   Its founder and principal chose S10 as its trademark because his
13   birthday is on September 10th.
14           4.   S10 Entertainment signed its first two artists in 2017, and its reputation
15   in the music industry grew quickly.
16           5.   In 2018, S10 Entertainment signed two more artists and entered into a
17   joint venture with one of the nation’s premiere entertainment companies. Plaintiff,
18   known in the music industry as S10, expanded its offering to include music
19   publishing, promotion and event planning.
20           6.   That same year, 2018, Plaintiff applied for what became its United
21   States Trademark Registration No. 5,909,315 for the mark S10 (“the S10 mark”).
22           7.   In November 2018, Samsung, through its advertising agency, contacted
23   S10 Entertainment because Samsung was interested in having one of S10
24   Entertainment’s artists endorse a smartphone that Samsung was launching in early
25   2019.
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28                                      COMPLAINT
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 1         8.     While no deal for an S10 Entertainment artist to promote the
 2   smartphone was ever reached, despite Samsung’s knowledge of Plaintiff’s mark,
 3   Samsung released its Galaxy S10, S10+, S10e, and S10 5G smartphones in February
 4   of 2019 and promoted those phones heavily in the popular music space inhabited by
 5   Plaintiff, through musical celebrity promotions, events and festivals.
 6         9.     Samsung also partnered with music service giants like Spotify and
 7   YouTube to market its S10 smartphones.
 8         10.    Samsung’s release and targeted promotion of its S10 phones in the
 9   music space had the almost overnight effect of overwhelming Plaintiff’s reputation
10   that it had built in the S10 mark.
11         11.    Within a short time, record executives, artists and others who knew
12   Plaintiff were confusing S10 Entertainment with Samsung or asking S10
13   Entertainment about its partnership, sale to, or arrangement with Samsung.
14         12.    Consumers began tagging Plaintiff’s @S10 Instagram account with
15   pictures of the Samsung S10 phones, or posting directly on Plaintiff’s Instagram
16   about the S10 phones, further eroding Plaintiff’s brand identity.
17         13.    Plaintiff fielded and continued to field countless queries and comments
18   about its supposed connection to or partnership with Samsung. This confusion as to
19   connection, source and sponsorship has been rampant, and continues to this day, all
20   but erasing the goodwill and reputation that Plaintiff had worked so tirelessly to
21   build in the S10 mark, not to mention halting its continued growth.
22         14.    Samsung has, on information and belief, to date sold in the United
23   States over 11 million units of the Galaxy S10 smartphone line, representing U.S.
24   sales revenue of over $10 billion, and has spent hundreds of millions of dollars
25   advertising the S10 smartphone, much of it in the music space.
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28                                        COMPLAINT
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 1         15.    S10 Entertainment now brings this action to stop Samsung’s
 2   nationwide infringement of S10 Entertainment’s rights, for compensation for the
 3   significant damages arising from Samsung’s unlawful conduct, and for injunctive
 4   relief to prevent Samsung from causing future harm to S10 Entertainment.
 5                                       PARTIES
 6         16.    Plaintiff S10 Entertainment & Media LLC is a Delaware corporation
 7   with a principal place of business in Los Angeles and offices in New York and
 8   London.
 9         17.    Samsung Electronics Co., Ltd. (referred to individually herein as
10   “SEC”) is a Korean corporation with its principal offices at 129, Samsung-Ro,
11   Maetan-3dong, Yeongtong-Gu, Suwon-si, Gyeonggi-do, 16677 Rep. of Korea.
12         18.    On information and belief, SEC is South Korea’s largest company and
13   one of Asia’s largest electronics companies.
14         19.    SEC designs, manufactures, and provides to the U.S. and world markets
15   a wide range of products, including consumer electronics, computer components,
16   and myriad mobile and entertainment products.
17         20.    Samsung Electronics America, Inc. (referred to individually herein as
18   “SEA”) is a New York corporation with its principal place of business at 85
19   Challenger Road, Ridgefield Park, New Jersey 07660.
20         21.    On information and belief, SEA was formed in 1977 as a subsidiary of
21   Samsung Electronics Co., Ltd. and markets, sells, and/or offers for sale a variety of
22   consumer electronics including mobile phones.
23                            JURISDICTION AND VENUE
24         22.    This action arises under Federal law, the provisions of the Trademark
25   laws of the United States (the Lanham Act), as amended, 15 U.S.C. §§ 1051 et seq.
26   and the common laws of the states of New York, New Jersey, and California. This
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28                                     COMPLAINT
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 1   Court has subject matter jurisdiction under 15 U.S.C. §1121 and 28 U.S.C. § 1331
 2   (federal question) and 28 U.S.C. § 1338(a) (trademark) because this action arises
 3   under the trademark laws of the United States. This Court has supplemental
 4   jurisdiction over Plaintiff’s state law claims under 28 U.S.C. §1338(b) and 28 U.S.C.
 5   § 1367.
 6          23.    This Court has personal jurisdiction over Samsung because Samsung
 7   (including each individual named defendant) has extensive minimum contacts with
 8   the state of California. On information and belief, Samsung sells products, including
 9   phones bearing or under the auspices of the infringing S10 mark (including the
10   Galaxy Note S10, S10e, and S10+) nationwide, including in the state of California.
11          24.    On information and belief, Samsung has purposefully availed itself of
12   the privileges and laws of California, distributes large amounts of products
13   (including infringing products) to consumers and retailers in this state, and has
14   continuous and systematic contacts with this state, and thus is subject to this Court’s
15   personal jurisdiction.
16          25.    Venue is proper in this judicial district under 28 U.S.C § 1391 because
17   a substantial portion of the events or omissions giving rise to the claims occurred in
18   this district, and Samsung resides in this district by virtue of being subject to personal
19   jurisdiction in this judicial district.
20          26.    Venue is additionally proper as to Defendant Samsung Electronics Co.,
21   Ltd., because SEC is a Korean corporation and, as such, venue lies with respect to
22   SEC in any judicial district under 28 U.S.C. §1391(c)(3).
23                                       BACKGROUND
24          27.    S10 Entertainment was founded in 2017 as a full-service talent
25   management company for the purposes of managing, promoting, publishing and
26   producing the music of talented and emerging artists within the music industry.
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28                                         COMPLAINT
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 1         28.    In its first year, S10 Entertainment signed two major performing artists,
 2   and in its second year, S10 Entertainment entered into a partnership with one of the
 3   world’s most influential entertainment companies.
 4         29.    Prior to Samsung’s launch of the Galaxy S10 smartphone, S10
 5   Entertainment had successfully grown its reputation and clientele and now
 6   represents several world-renowned artists in the music industry.
 7         30.    S10 Entertainment and its S10 mark have become known to the public
 8   and the music industry, including through S10 Entertainment’s Twitter account
 9   (@S10ent), Instagram account, (@S10), and website (S10e.com).
10         31.    Plaintiff additionally transacts its e-mail correspondence from the
11   “S10e.com” domain.
12         32.    S10 Entertainment has continuously and consistently used the S10
13   mark since starting its use, developing substantial goodwill as the provider of goods
14   and services under this mark across the United States.
15         33.    S10 Entertainment has achieved recognition under its mark and the
16   public has associated S10 with the mark, as evidenced by, for example, S10
17   Entertainment’s tens of thousands of Instagram and Twitter followers.
18         34.    S10 Entertainment has also received recognition for its endeavors in the
19   music industry press, receiving coverage in Variety and Billboard magazines:
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28                                     COMPLAINT
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28                                  COMPLAINT
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 1          35.   S10 Entertainment likewise has become associated with the “S10” tag
 2    on the popular application Instagram within the music industry. The example below
 3    is from a music producer wearing S10 Entertainment S10-branded apparel on Nov.
 4    25, 2019.
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28                                    COMPLAINT
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 1          36.   S10 Entertainment’s S10 mark is thus a strong mark.
 2          37.   S10 Entertainment is the senior user of the S10 mark, having used it in
 3    interstate commerce since 2017.
 4          38.   S10 Entertainment also is the owner of registered United States
 5    Trademark Registration 5,909,315 for the standard character mark “S10,” which was
 6    registered to Plaintiff on November 12, 2019 for the following classes of goods and
 7    services:
 8                •   Class 025: Clothing, namely, t-shirts, hooded pullovers and
 9                    sweatshirts;
10                •   Class 035: Management of performing artists; Artist
11                    representation and artist management services, namely,
12                    management and administration of contract negotiation, and
13                    organization and execution of concert tours and appearances;
14                    Business marketing for recording and performing artists;
15                •   Class 041: Entertainment services, namely, recording, production
16                    and post-production services in the field of music and music
17                    videos; organizing events featuring live musical performances,
18                    producing and distributing digital content in the field of music.
19          39.   A true and correct copy of the registration for U.S. Trademark
20    Registration No. 5,909,315 is attached hereto as Exhibit A.
21          40.   Despite its success within the music industry, S10 Entertainment does
22    not have the same commercial footprint or household name status as Samsung, a
23    corporate behemoth whose products (and those of affiliates or subsidiaries) are
24    found in homes—and, in the case of smartphones, pockets—across America, and
25    whose several hundred-million-dollar advertisement campaigns are likewise
26    ubiquitous nationwide.
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28                                      COMPLAINT
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               SAMSUNG USES THE S10 MARK IN ASSOCIATION WITH
                         ITS FLAGSHIP SMARTPHONE
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            41.    In February of 2019, Samsung released its flagship smartphones, the
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      Samsung Galaxy S10, S10e, and S10+ smartphones, despite both the preexistence
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      of Plaintiff’s S10 mark and Samsung’s knowledge of that mark.
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            42.    Rather than seeking to minimize consumer confusion or overlap in
 6
      marketing channels between its mobile phone offerings and Plaintiff’s mark,
 7
      Samsung instead targeted the music industry – the exact space inhabited by Plaintiff
 8
      -- to promote its new smartphone, including by arranging endorsements and
 9
      promotional appearances by prominent musicians.
10
            43.    For example, Samsung entered into business partnerships with music
11
      streaming service giants, including Spotify and YouTube Premium, to promote the
12
      Galaxy                                                                          S10.
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      (https://web.archive.org/web/20190808205626/www.samsung.com/us/mobile/gala
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      xy/offers/spotify/).
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28                                   COMPLAINT
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 1          44.   Samsung further promoted its S10 smartphone line by hosting
 2    promotional tour events at music industry related events, including hosting a
 3    “Samsung Experience Tour” promotional event at the popular music and media
 4    industry event South by Southwest (SXSW) in March of 2019:
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16          45.   Samsung also arranged for performing artists, including R&B duo
17    Chloe x Halle, to promote the S10+ at the Samsung Experience Store at a-meet-and-
18    greet on February 20, 2019 in Glendale, California. See, e.g., Chloe x Halle Host
19    Special Meet-And-Greet For Samsung’s ’10 Years Of Galaxy’ Celebration
20    [Photos], Bossip (Feb. 22, 2019), https://bossip.com/1705733/chloe-halle-host-
21    meet-and-greet-samsung-photos/.
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 1          46.   In Samsung’s advertising for its Galaxy S10, S10e, and S10+
 2    smartphones, the “S10” portion of the branding is the dominant part of the
 3    advertising used by Samsung.
 4          47.   The photograph below reflects events and promotions from the Los
 5    Angeles area relating to the “Samsung Experience Tour” promotional events:
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28                                   COMPLAINT
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 1          48.   Some of Samsung’s advertising imitated not only the sans-serif font
 2    used by S10 Entertainment, but used a nearly identical yellow-on-black color
 3    scheme that characterizes the branding of S10 Entertainment’s Twitter and
 4    Instagram Accounts and its apparel.
 5          49.   Below is the yellow-on-black S10 mark as displayed on S10
 6    Entertainment’s website home page, Twitter and Instagram pages and apparel:
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13          50.   S10 Entertainment and companies similar to it are well known to have
14    business      affiliations     with         consumer      goods        companies.
15    (https://www.vibe.com/2018/05/lvrn-frko-rico-reebok-collaboration-feature)
16

17        SAMSUNG’S KNOWLEDGE OF S10 ENTERTAINMENT’S MARK
18          51.   Samsung’s took these actions despite knowing of Plaintiff’s mark.
19          52.   On or around November 2018, Samsung and its advertising partner
20    PMKBNC reached out to Plaintiff S10 Entertainment to discuss the possibility of
21    one of S10 Entertainment’s clients endorsing an early 2019 Samsung product launch.
22    This correspondence included an email exchange copying the corporate email
23    address of an employee in Celebrity and Influencer Partnerships at Defendant
24    Samsung Electronics America, Inc.
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28                                     COMPLAINT
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 1          53.    While Samsung and S10 Entertainment never reached a deal following
 2    these exchanges, Samsung was aware of Plaintiff’s business and its S10 mark prior
 3    to the release of Samsung’s Galaxy S10 smartphone line.
 4

 5          SAMSUNG’S CONDUCT GENERATED ACTUAL CONFUSION
 6             BETWEEN S10 ENTERTAINMENT AND SAMSUNG
            54.    As a result of Samsung’s product release and associated multi-million
 7
      dollar advertising blitz targeting the music industry, “S10” has become prominently
 8
      associated in the public mind primarily with Samsung, so much so such that
 9
      consumers confuse Plaintiff’s offerings with those of Samsung and/or believe
10
      Plaintiff to be affiliated with Samsung.
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            55.    Plaintiff has, through the reverse confusion generated by Samsung’s
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      actions, lost a material amount of its brand identity and the consumer goodwill it had
13
      established with its S10 mark.
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            56.    Following the February 2019 release of the Samsung S10 line of
15
      smartphones, S10 Entertainment executives and employees experienced and
16
      continue to experience instances of confusion among S10 Entertainment’s
17
      consumers, because of Samsung’s saturation of the music industry to promote the
18
      S10 smartphone, confusion is rampant.
19
            57.    For example, in communications with S10 Entertainment executives
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      and employees, music executives have asked S10 Entertainment on numerous
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      occasions about its “partnership” with Samsung. Those same executives and
22
      producers are the channel through which S10 Entertainment finds, develops and
23
      maintains its clients. In addition, contacts of clients, employees of clients, and others
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      have asked S10 Entertainment whether it has a partnership with Samsung.
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            58.    Tweets about S10’s business likewise show the confusion between
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      S10’s business and that of Samsung:
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20          59.   Further, S10 Entertainment began to receive messages and inquiries on
21    its official Instagram account about Samsung’s smartphone products:
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28                                    COMPLAINT
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28                                   COMPLAINT
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 1          60.     Content related to Samsung’s S10 phone has been tagged with S10
 2    Entertainment’s Instagram account information. For example, the following appears
 3    on      the      list    of      S10’s        Instagram     “tagged”          content
 4    (https://www.instagram.com/s10/tagged/), showing various phone-related content
 5    intermixed with appropriately-tagged content from the music industry:
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28                                   COMPLAINT
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 1          61.   As a result of confusion between Samsung’s S10 phone line and S10
 2    Entertainment’s S10 mark, the value and goodwill of S10 Entertainment’s Instagram
 3    and social media footprint has been severely diminished, as content relevant to or
 4    promoting of S10 Entertainment’s business interests is displaced by connections that
 5    users make between Samsung’s Galaxy S10 phone line and S10 Entertainment’s
 6    social media accounts.
 7          62.   A further example of such a connection is below.
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28                                      COMPLAINT
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 1          63.   Additionally, Google search results for “S10”—which at the time of
 2    S10 Entertainment’s first use of the S10 mark in 2017 directed users to S10
 3    Entertainment—are now uniformly associated with Samsung:
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28                                   COMPLAINT
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 1          64.    Even Google searches for “S10 Entertainment” or S10 Entertainment’s
 2    website “S10e.com” have yielded advertisement material and search results
 3    associated with Samsung:
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            65.    In addition to direct-to-consumer sales, Samsung sold and distributed
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      this its infringing S10 phone line to its authorized distributors, resellers, and
21

22    retailers (“Prohibited Intermediaries”) and monitored promotional advertising with
23
      respect to its improper use of S10.
24
            66.    Samsung at no time directed its Prohibited Intermediaries to cease use
25

26    of the S10 mark in its products.
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                                                 29
28                                        COMPLAINT
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 1
            67.     Samsung knew that the failure to do so, after telling their Prohibited

 2    Intermediaries that the trademark for their products was “S10,” would result in the
 3
      infringing products continuing to be offered for sale and sold under the infringing
 4

 5    “S10” mark.

 6          68.     Accordingly, the Prohibited Intermediaries continued to sell the
 7
      infringing products under the S10 trademark.
 8
 9          69.     In taking the actions alleged herein and/or ratifying the actions alleged

10    herein, Samsung acted within the scope of this authority for its own financial and
11
      individual advantage.
12

13          70.     Samsung’s Prohibited Intermediaries include, but are not limited to,

14    the following: Verizon, AT&T, Sprint, T-Mobile, US Cellular, Best Buy, Target,
15
      Walmart, Amazon, and others.
16

17          71.     Further, Samsung instructed and controlled its brand through

18    Prohibited Intermediaries who used the S10 mark in connection with the sale of its
19
      infringing S10 products regarding the marketing parameters of the product line,
20

21    and monitored these Prohibited Intermediaries’ compliance with Samsung’s
22    instructions and directions.
23
            72.     As a result of the infringing use of the S10 mark, Samsung has made
24

25    significant profits on its infringing S10 products, and its Prohibited Intermediaries
26    have made additional profits on the products.
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28                                       COMPLAINT
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 1
            73.    Further as a result of Samsung’s use of the product name “S10” and

 2    confusingly similar variants thereof and intentional targeting of the music industry
 3
      that Plaintiff inhabited as the senior user, Samsung, as the proverbial 800-pound
 4

 5    gorilla and a household name to consumers nationwide, has overwhelmed the

 6    value, goodwill, and recognizability of S10 Entertainment and its S10 mark, and
 7
      unless enjoined, will continue to do so.
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                                  COUNT ONE
       (Trademark Infringement under the Lanham Act in violation of 15 U.S.C. §
15                                     1114)
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            74.    S10 Entertainment repeats and re-alleges all allegations in this
17
      Complaint as if fully set forth herein.
18
            75.    S10 Entertainment is the owner of the S10 mark, which is a federally
19
      registered, valid, strong, inherently distinctive, and a protectable trademark.
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            76.    S10 Entertainment has priority of use of the distinctive S10 mark as to
21
      Samsung.
22
            77.    Samsung has used, authorized and/or directed the use of the S10 mark
23
      or a confusingly similar variation of the mark in connection with the sale, offering
24
      for sale, distribution or advertising of goods and/or services. The marks are identical
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      or confusingly similar, used in the sale and advertisement through similar marketing
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      channels, and sold and advertised to similar audiences. Samsung’s adoption of “S10”
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28                                       COMPLAINT
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 1    for its line of smartphone products was willful and done with reckless disregard as
 2    to the significant actual confusion and loss of brand identity that would and did occur
 3    to harm S10 Entertainment.
 4          78.    Samsung directed the use of the S10 mark or a confusingly similar
 5    variation of the mark (such as “S10e” or “S10+”) despite knowing that S10
 6    Entertainment owns the rights to the S10 mark.
 7          79.    Samsung’s use of the S10 mark has caused actual confusion in the
 8    marketplace, is likely to cause both confusion and mistake, and is likely to deceive
 9    consumers or result in the belief that S10 is legitimately connected with, sponsored
10    by, affiliated with, or licensed or approved by, Samsung, or vice versa. The marks
11    used by Samsung are identical or substantially similar in sound, appearance and
12    meaning to S10 Entertainment’s mark. Further, the marks are promoted to
13    overlapping distribution channels and consumers.
14          80.    Such use by Samsung was done willfully and with knowledge that such
15    use would and was likely to cause confusion and deceive the relevant audience.
16    Samsung intentionally used S10 Entertainment’s S10 trademark and promoted it
17    heavily in the popular music space despite its knowledge of S10 Entertainment’s
18    mark and business.
19          81.    As a direct and proximate result of Samsung’s trademark infringement,
20    S10 Entertainment has been damaged within the meaning of 15 U.S.C. § 1114 et
21    seq. Specifically, S10 Entertainment has been damaged by both forward and reverse
22    confusion.
23          82.    S10 Entertainment has suffered damages in an amount to be established
24    after proof at trial or in the statutory amount.
25          83.    S10 Entertainment is further entitled to disgorge Samsung’s profits for
26    its willful sales and unjust enrichment.
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28                                        COMPLAINT
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 1           84.    This case qualifies as an “exceptional case” within the meaning of 15
 2    U.S.C. § 1117(a) in that Samsung’s acts were done with knowledge that the mark
 3    was a counterfeit within the meaning of 1117(a) willful and/or reckless, entitling
 4    S10 Entertainment to its attorney’s fees and an enhancement of damages, including
 5    a trebling of its damages and/or disgorged profits.
 6           85.    S10 Entertainment is entitled to trebled damages and attorneys’ fees
 7    under 15 U.S.C. §1117(b) for such infringement as occurred after the registration of
 8    the mark because Samsung intentionally adopted and used the infringing mark
 9    despite knowing S10 Entertainment was the senior user of the mark with respect to
10    the same services and associated promotional channels used by Samsung. Samsung
11    was aware of S10 Entertainment’s mark, and the marks are substantially
12    indistinguishable.
13           86.    As a direct result of Samsung’s unlawful actions, S10 Entertainment
14    has suffered and continues to suffer irreparable harm and damages, including
15    damage to and diminution in value of the S10 mark, necessary corrective advertising,
16    and loss of brand control. S10 Entertainment’s remedy at law is not adequate to
17    compensate for injuries inflicted by Samsung. Thus, S10 Entertainment is also
18    entitled to injunctive relief.
19                              SECOND COUNT
20
       (Trademark Infringement under the Lanham Act in violation of 15 U.S.C. §
                                      1125(a))
21

22           87.    S10 Entertainment repeats and re-alleges all preceding allegations in

23    this Complaint as if fully set forth herein.

24           88.    S10 Entertainment is the owner and senior user of the S10 mark.

25           89.    Samsung’s use of the S10 mark has caused confusion in the

26    marketplace, is likely to cause both confusion and mistake, and is likely to deceive

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28                                        COMPLAINT
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 1    consumers or result in the belief that S10 is connected with or otherwise operates
 2    under the auspices of Samsung.
 3           90.    The marks used by Samsung are identical or substantially similar in
 4    appearance to S10 Entertainment’s trademark and promoted to overlapping
 5    consumers.
 6           91.    Such use by Samsung was done willfully or recklessly and with
 7    knowledge that such use would and was likely to cause confusion and deceive the
 8    relevant audience.
 9           92.    As a direct and proximate result of Samsung’s trademark infringement,
10    S10 Entertainment has been damaged within the meaning of 15 U.S.C. § 1125(a).
11           93.    S10 Entertainment has suffered damages in an amount to be established
12    after proof at trial.
13           94.    S10 Entertainment is further entitled to disgorgement Samsung’s
14    profits for Samsung’s unjust enrichment.
15           95.    This case qualifies as an “exceptional case” within the meaning of 15
16    U.S.C. § 1117(a) in that Samsung’s acts were willful and/or reckless, entitling S10
17    Entertainment to its attorney’s fees and an enhancement of damages, including a
18    trebling of its damages and/or disgorged profits.
19           96.    As a direct result of Samsung’s willful and unlawful actions, S10
20    Entertainment has suffered and continues to suffer irreparable harm, including
21    damage to and diminution in value of the S10 mark, necessary corrective advertising,
22    and loss of brand control. S10 Entertainment’s remedy at law is not adequate to
23    compensate for injuries inflicted by Samsung. Thus, S10 Entertainment is entitled
24    to injunctive relief.
25                                THIRD COUNT
26
        (Contributory Trademark Infringement Under 15 U.S.C. §§ 1114, 1125(a))

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28                                      COMPLAINT
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 1          97.    S10 Entertainment repeats and re-alleges all preceding allegations in
 2    this Complaint as if fully set forth herein.
 3          98.    S10 Entertainment is the owner of the S10 mark, which is a federally
 4    registered, valid, inherently distinctive, and a protectable trademark.
 5          99.    S10 Entertainment has priority of use of the distinctive S10 mark as to
 6    Samsung.
 7          100. Samsung had knowledge of its Prohibited Intermediaries’ Lanham Act
 8    violations, including trademark infringement, false designation of origin, unfair
 9    competition, and counterfeiting.
10          101. Samsung intentionally induced others, including its Prohibited
11    Intermediaries, to infringe and use the S10 mark.
12          102. Samsung is able to exercise direct control and practical control over its
13    Prohibited Intermediaries’ Lanham Act violations above.
14          103. Samsung monitors its Prohibited Intermediaries’ actions that lead to
15    sales of Samsung’s products, including the Prohibited Intermediaries’ Lanham Act
16    violations alleged above.
17          104. Samsung        could    take   measures   to   prevent   their    Prohibited
18    Intermediaries’ Lanham Act violations alleged above, but chose not to do so.
19          105. Samsung did not prevent their Prohibited Intermediaries’ Lanham Act
20    violations, but instead encouraged those actions by refusing to take take-down and
21    recall measures to prevent the trademark infringement, false designation of origin,
22    unfair competition, and counterfeiting actions with respect to the S10 mark.
23          106. Samsung’s conduct has damaged and continues to damage S10
24    Entertainment’s business, reputation, and goodwill.
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28                                        COMPLAINT
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 1          107. Samsung’s conduct has been willful and intentional, and Samsung
 2    engaged in the actions alleged herein with the purpose of confusing consumers and
 3    trading on the goodwill associated with the S10 mark.
 4          108. As a direct and proximate result of Samsung and its Affiliates’
 5    trademark infringement, false designation of origin, and unfair competition S10
 6    Entertainment has been damaged within the meaning of 15 U.S.C. §§ 1114 and
 7    1125(a).
 8          109. S10 Entertainment has suffered damages in an amount to be established
 9    after proof at trial or in the statutory amount.
10          110. S10 Entertainment is further entitled to disgorge Samsung’s profits for
11    its willful sales and unjust enrichment, and also disgorge from Samsung the profits
12    of its Prohibited Intermediaries.
13          111. This case qualifies as an “exceptional case” within the meaning of 15
14    U.S.C. § 1117(a) in that Samsung’s acts were malicious, fraudulent, deliberate and
15    willful, and taken in bad faith, entitling S10 Entertainment to its attorney’s fees and
16    enhanced damages, including a trebling of its damages and/or disgorged profits.
17          112. As a direct result of Samsung’s willful and unlawful actions, S10
18    Entertainment has suffered and continues to suffer irreparable harm, including
19    damage to and diminution in value of the S10 mark. S10 Entertainment’s remedy at
20    law is not adequate to compensate for injuries inflicted by Samsung. Thus, S10
21    Entertainment is entitled to injunctive relief.
22                                 FOURTH COUNT
23
                  (Statutory and Common Law Trademark Infringement)

24          113. S10 Entertainment repeats and re-alleges all allegations in this
25    Complaint as if fully set forth herein.
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28                                        COMPLAINT
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 1          114. S10 Entertainment has federal and common law trademark rights based
 2    on its extensive use throughout the United States of the S10 mark, including but not
 3    limited to under the statutes and common laws, inter alia, of the States of California,
 4    New Jersey, and New York.
 5          115. Samsung has committed acts of unfair competition, including
 6    trademark infringement and related misconduct referred to in this Complaint.
 7          116. The infringing marks and associated promotional channels have been
 8    used in each of these states and is likely to cause confusion for the consumers in
 9    each of these states as to the source, sponsorship, and approval as to the infringing
10    products and/or services, as further alleged above. These actions constitute unlawful
11    or unfair business acts or practices and/or unfair, deceptive, untrue or misleading
12    business practices. The actions cause confusion or misunderstanding as to the
13    source, sponsorship, approval, or certification of goods or services and were done in
14    connection with sales or advertising. These actions were intentional, knowing and/or
15    reckless acts of infringement through use of the S10 mark.
16          117. As a direct and proximate result of Samsung’s wrongful acts, S10
17    Entertainment has suffered and continues to suffer irreparable injury to its business
18    reputation and goodwill. As such, S10 Entertainment’s remedy at law is not adequate
19    to compensate for injuries inflicted by Samsung. Accordingly, S10 Entertainment is
20    entitled to and permanent injunctive relief.
21          118. By reason of such wrongful acts, S10 Entertainment is, was, and will
22    be in the future, deprived of, among other damages, the profits and benefits of
23    business relationships, agreements, and transactions with various third parties and/or
24    prospective business relationships. Defendant’s profits are awardable, at least under
25    the common laws of the States of California and New York. Samsung has wrongfully
26    obtained profit and benefits instead of S10 Entertainment. S10 Entertainment is
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28                                       COMPLAINT
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 1    entitled to compensatory damages and past and prospective corrective advertising
 2    damages, in an amount to be proven at trial.
 3          119. Samsung acted with knowledge of S10’s mark.
 4          120. S10 Entertainment is entitled to its reasonable attorneys’ fees and costs
 5    of suit under the state laws of New York and New Jersey.
 6          121. S10 Entertainment is informed and believe, and on that basis alleges
 7    that Samsung’s actions were adoptively willful, willfully blind, intentional,
 8    malicious, deliberate and in bad faith, such that punitive damages are justified and
 9    reasonable, at an amount to be proved at trial.
10                                    FIFTH COUNT
11
                     (Cal. Bus. & Prof. Code § 17200 et seq. Violations)

12          122. S10 Entertainment repeats and re-alleges all allegations in this
13    Complaint as if fully set forth herein.
14          123. In advertising its services, Samsung further misrepresented the
15    character of its business by suggesting a connection with S10 Entertainment.
16          124. Samsung’s acts and omissions alleged herein, including trademark
17    infringement and unfair competition, harms S10 Entertainment and constitutes
18    unlawful, unfair, or fraudulent business acts or practices, unfair, deceptive, untrue,
19    or misleading advertising, and/or false advertising within the meaning of Section
20    17200 et seq. of the California Business and Professions Code and under the
21    common law.
22          125. Samsung has engaged in unfair competition by the acts alleged herein.
23          126. Samsung’s acts and omissions alleged herein constitute unfair business
24    practices because the harm of these business practices outweighs the utility, if any,
25    of these business practices, and are unscrupulous and injurious to consumers.
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28                                       COMPLAINT
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 1          127. Samsung’s acts and omissions alleged herein constitute unlawful
 2    business practices because Samsung’s conduct is forbidden by multiple laws,
 3    including but not limited to 15 U.S.C. § 1125(a), the common laws, the laws of the
 4    State of California, and the laws of the United States.
 5          128. Samsung’s acts and omissions alleged herein constitute fraudulent
 6    business practices because consumers are likely to be deceived.
 7          129. Samsung has engaged in these activities willfully and consciously.
 8          130. Samsung’s activities have caused and will continue to cause damage to
 9    S10 Entertainment, in an amount to be determined at trial.
10          131. As a direct and proximate consequence of the infringement complained
11    of herein, S10 Entertainment has been irreparably harmed to an extent not yet
12    determined and will continue to be irreparably harmed by such acts in the future
13    unless the Court enjoins Samsung from committing further acts of infringement.
14                                   PRAYER FOR RELIEF
15          WHEREFORE, S10 Entertainment demands the following relief for each
16    cause of action unless otherwise noted:
17          1.     A judgment in favor of S10 Entertainment and against Samsung on all
18    counts;
19          2.     A permanent injunction from trademark infringement and unfair
20    business practices by Samsung;
21          3.     Damages in an amount to be determined at trial;
22          4.     Unjust enrichment and/or disgorgement of Samsung’s profits, and the
23    unjust enrichment and/or profits of Samsung’s Prohibited Intermediaries, all
24    enhanced including trebling;
25          5.     A reasonable royalty on Samsung’s infringing sales, enhanced
26    including trebling;
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28                                       COMPLAINT
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 1          6.     Damages for corrective advertising;
 2          7.     Trebling of damages for willful infringement;
 3          8.     Pre-judgment interest at the legally allowable rate on all amounts owed;
 4          9.     Costs and expenses;
 5          10.    Attorney’s fees and other fees under, among others, 15 U.S.C. §
 6    1117(a) and (b) et seq. as an exceptional case, and use of a willful counterfeit Mark;
 7          11.    Punitive damages;
 8          12.    Restitution; and
 9          13.    Such other and further relief as this Court may deem just and proper.
10

11    DATED: March 19, 2021                  Respectfully submitted,

12                                           MINTZ, LEVIN, COHN, FERRIS,
                                             GLOVSKY & POPEO, P.C.
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14                                           By:/s/ Andrew D. Skale
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                                                Entertainment
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 1                              DEMAND FOR JURY TRIAL
 2            S10 Entertainment hereby demands a trial by jury on all issues triable
 3    pursuant to Rule 38(b) of the Federal Rules of Civil Procedure.
 4

 5    DATED: March 19, 2021                   Respectfully submitted,

 6                                            MINTZ, LEVIN, COHN, FERRIS,
                                              GLOVSKY & POPEO, P.C.
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